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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION


Typemock, LTD.,

                 Plaintiff,
                                          Case No.: 1:17-cv-10274-RGS
        v.

Telerik, Inc.,                            JURY TRIAL DEMANDED

                 Defendant.




DEFENDANT TELERIK INC.’S REPLY CLAIM CONSTRUCTION BRIEF SHOWING
   THAT THE ASSERTED PATENT CLAIMS ARE INVALID AS INDEFINITE
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I.     INTRODUCTION

       The Court’s Scheduling Order required the parties to first, identify the claim terms for

which they sought construction; second, “meet and confer” to see if there was any middle

ground; and third, file two rounds of simultaneous briefs directed to the open issues. Telerik did

just that. Typemock, however, chose to ignore the court’s order and said nothing in its opening

brief regarding the indefinite terms, choosing to wait until its second brief.

       Because Telerik had no opportunity to reply to Typemock’s arguments on the

indefiniteness issues, this Court entered an order allowing Telerik to file this third brief, to

respond to Typemock’s arguments.

       Having now seen Typemock’s arguments in its second brief, Telerik can now say this:

Typemock still fails to address the invalidity issue head on, instead misdirecting its argument and

“evidence” to terms and constructs not in issue. The simple fact is this: the use of words like

“apparatus,” “computational apparatus,” and “code elements” in the claims are precisely the use

of nonce words, unconnected to structure, that renders the claims invalid. See Williamson v.

Citrix Online, LLC, 792 F.3d 1339, 1350 (Fed. Cir. 2015) (“Generic terms such as ‘mechanism,’

‘element,’ ‘device,’ and other nonce words that reflect nothing more than verbal constructs may

be used in a claim in a manner that is tantamount to using the word ‘means’ because they

‘typically do not connote sufficiently definite structure’ and therefore may invoke § 112, ¶ 6.”).

II.    ARGUMENT

       1.      The Disputed Terms Use “Nonce” Words Without Corresponding Structure,
               and Therefore are Indefinite and Invalid, As A Matter of Law.

               A.      “computational apparatus . . . ”

       Although Telerik contended that the term “computational apparatus” was indefinite and

not amenable to construction, Typemock provided no definition for the term in its opening brief.
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Now, in its reply brief, while still not providing any definition for the term, Typemock

challenges the notion that the term “computational apparatus” is a nonce word making the term

subject to a means-plus-function construction, but again, fails to provide any alternative

definition.

       Typemock, instead, argues that the term needs no construction, saying that the claim

language itself defines the term. That is, Typemock contends that the term “computational

apparatus for at least partially isolating” is defined by language appearing later in the claim,

specifically, in the case of exemplary claim 1 of the ’923 patent, the language:

       by introducing, prior to execution, code elements for runtime access of application points
       associated with the at least one coupled software component, wherein at least one code
       element associated with the at least one coupled software component provides access
       control between utilizing-utilized software components.

       But, Typemock is advocating the most fundamental of errors, ignoring that the undefined

term is “computational apparatus,” and instead arguing that the functional language of what the

“computational apparatus” does, is in fact the “structure” of the ”computational apparatus” itself.

Typemock’s argument seems to be that the claim itself somehow provides sufficient structure for

the “computational apparatus” because a person of ordinary skill in the art would “know how to

program” a computer to perform the recited functions. It repeats this error for each instance of

“computational apparatus.”

       The problem with Typemock’s argument is that is exactly the argument that the Federal

Circuit rejected in Williamson. “[T]he fact that one of skill in the art could program a computer

to perform the recited functions cannot create structure where none otherwise is disclosed.” 792

F.3d 1339, 1351.

       Notably, the claims recite a number of different “computational apparatus[es],” each for

carrying out different functions in the claim. For example, claims 1 and 30 of the ’923 patent


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have a “computational apparatus for at least partially isolating,” and a separate “computational

apparatus for testing.” 1 Claim 9 of the ’041 patent has a third “computational apparatus,”

namely one that performs both the functions of “at least partially isolating” and “testing.”

       The law regarding “means plus function” terms says that Typemock is only “entitled to

‘corresponding structure . . . described in the specification and equivalents thereof, not any

device capable of performing the function.” Ergo Licensing, LLC v. CareFusion 303, Inc., 673

F.3d 1361, 1364 (Fed. Cir. 2012) (emphasis added). It is for this reason that Typemock must

“clearly link” structure corresponding to each “computational apparatus” to its corresponding

function. Williamson, 792 F.3d at 1352. That is, the law imposes on Typemock the burden of

identifying structure disclosed in its patent that corresponds to, and is tied to, the functions

recited for each “computational apparatus” in the claims.

       Typemock argues, wrongly, that the functional description of what the “computational

apparatus” does gives the claim its structure. But Typemock’s approach would read the term

“computational apparatus” right out of the claim altogether. Typemock does not point to specific

“machines” that are “clearly linked” to each of the “computational apparatus[es]” in its brief.

Even the Patent Examiner noted that “apparatus” is physical structure. (Dkt. No. 60 (“Br.”) at 10

(“[T]he Examiner noted that ‘the “apparatus” is interpreted . . . as [prior art reference] Avakian’s

server (see paragraph [0054]), i.e. a “machine” as described on page 4 lines 25–26.”’”).)

       Typemock argues that “[b]ecause the claim relates to software (see Def.’s Br. 22), the

corresponding structure is a computer programmed to implement an algorithm that performs the



1
  Typemock concedes in its brief that the “computational apparatus for testing” is separate:
“Claim 1 further recites ‘computational apparatus for testing the software application,’ and thus
the function of this additional ‘computational apparatus’ is ‘testing the software application.’” (P.
Reply at 11 (emphasis added).)


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recited function.” (Dkt. No. 74 (“P. Reply”) at 10.) That argument is wrong for at least two

reasons. First, Typemock’s contention that the structure is a computer programmed to

implement an algorithm ignores the fact that the ’923 patent claims already include a

“processor.” And second, the “algorithms” Typemock points to in the specification are not

algorithms at all, but merely functional description that fails to impart any structure. That is, the

two “algorithms” Typemock points to: “insert[ing] a small piece of code” and “changing the

metadata tables,” (id. at 11) are not algorithms telling how to do the function, but are merely

functional disclosures.

               B.         “a first processor functionally associated with a digital memory, which
                          digital memory stores processor executable software testing code adapted
                          to cause one or more second processors to”

       Similarly, the term “first processor” is indefinite, because “processor” is a nonce term

without any corresponding structural disclosure in the specification. The claim says that the

function of the first processor is to “associate with a digital memory, which digital memory

stores processor executable software testing code adapted to cause one or more second

processors to” perform other functions recited in the claim. (Br. at 11.)

       Typemock does not tie the function of the “first processor” to any structure disclosed in

the specification. Typemock simply fails to point to anything in the specification describing any

processor that “stores the code that drives the second processor” (which failure should be

expected because it is in fact the “digital memory” that “stores processor executable code”).

Typemock also fails to point to any code or algorithm for performing that function.

       In fact, all Typemock points to is boilerplate language in the specification saying that

“[a]ny suitable processor” would do. (P. Reply at 12 (citing ’041 patent at 2:57–3:23).) But, the

Federal Circuit “has consistently required that the structure disclosed in the specification be more

than simply a general purpose computer or microprocessor.” Williamson, 792 F.3d at 1352.

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        “One or more second processors” is similarly indefinite, because although Typemock

argues that the “one or more second processors” “perform[] the ‘isolating’ and ‘testing’

functions” (P. Reply at 12), it does not clearly link any processor in the specification to how they

are specially programmed to perform the recited functions. (See also Br. at 11–12.)

                C.      “apparatus for adding access controlling code . . . ” / “apparatus for
                        modifying said meta-data . . .”

        Claims 32 and 48 recite additional “apparatus[es]” for performing specified functions,

again without explaining what those functions are. Those apparatuses, again pure nonce words,

are limitations on the system recited in independent claim 30. And again, Typemock seeks to

read those terms right out of the claims.

        Typemock argues that the “apparatus for adding access controlling code” “refers to

programmed computational apparatus (as in the parent claim).” (P. Reply at 13.) The claim,

however, recites a separate “apparatus for adding access controlling code”—“said apparatus for

at least partially isolating comprises apparatus for adding access controlling code between each

pair of utilizing-utilized software components.” ’923 patent at claim 32. Thus, the “apparatus

for adding access controlling code” is an undefined apparatus, separate from the “apparatus for at

least partially isolating” recited in claim 32.

        The error in Typemock’s argument is apparent in its effort to find structure in the

specification corresponding to the “apparatus for adding access controlling code.” For example,

Typemock points to “weaver 104” that “insert[s] a small piece of code 107 that calls the Mock

framework 110 which then decides whether to call the original code or to fake the call” as

algorithmic structural disclosure. (P. Reply at 13 (citing ’923 patent at 4:15–20.) However,

Typemock’s discussion of the “computational apparatus for at least partially isolating” points to

the very same passage in the specification as the algorithmic support for that term. (Id. at 11


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(citing ’923 patent at 4:18–20).) While the “apparatus for at least partially isolating comprises

apparatus for adding access controlling code,” the two are not one in the same.

       Typemock’s argument with respect to the “apparatus for modifying said meta-data” in

claim 48 is even flimsier. There, Typemock argues that “claim 48 states that the ‘apparatus for

modifying’ modifies the meta-data ‘to point to access control code,’ clearly specifying what

operation it carries out.” (Dkt. No. 74-1 at 15.) Yet, although the claim explains the function

carried out by the “apparatus for modifying said meta-data,” Typemock fails to point to anything

in the patent that explains what the “apparatus for modifying said meta-data” actually is. And

again, when Typemock refers to the specification to find “structure” for this “apparatus,” it

points to the same language it did for the “computational apparatus for at least partially

isolating,” discussing “changing the metadata tables.” (Compare P. Reply at 14 (citing ’923

patent at 5:33–34), with id. at 11 (citing ’923 patent at 5:34).)

               D.      “introducing, prior to execution, code elements for runtime access of
                       application points”

       The claims recite “code elements” that perform different functions recited in the asserted

independent claims of the ’923 and ’041 patents. Telerik proposed a construction that the code

elements must perform the function of “runtime access.” (Br. at 14 n.10.) 2 Typemock, however,

does not show that the specification shows what a “code element” actually is, or how one is to

provide “runtime access.” The claim term is therefore indefinite.

       Now, Typemock argues that “code elements” means both “elements of code,” and

“instructions and data (such as memory pointers) described by the patent specification, as



2
 E.g., ’923 patent, claim 1: “runtime access of application points associated with the at least one
coupled software component, wherein at least one code element associated with the at least one
coupled software component provides access control between utilizing-utilized software
components”

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discussed above, that are introduced into the software application in order to control access to

software components.” (P. Reply at 14.) 3 “Memory pointers,” however, appears nowhere in the

patent, and is not otherwise explained by Typemock.

       And, Typemock again points to the same parts of the specification to support “code

elements for runtime access” as it did for “computational apparatus” and the other “apparatus”

terms in dependent claims 32 and 48 of the ’923 patent. (P. Reply at 15.) A claim cannot be

definite where the patentee needs to argue that the same “structure” is “clearly linked” to several

different claim terms.

               E.        “access controlling code external of the software application for
                         anticipating forthcoming utilization of utilized software components by
                         utilizing software components for selectively preventing said utilization by
                         controlling access of the utilizing software component to the utilized
                         software component”

       This term requires means-plus-function treatment because it recites “code” which has the

functions of “anticipating forthcoming utilization of utilized software components by utilizing

software components” and “selectively preventing said utilization by controlling access of the

software component to the utilized software component,” without tying either of those functions

to any structure. Again, Typemock ignores that “access controlling code” must itself have some



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  Claims are to be construed as understood by one of ordinary skill. Telerik’s expert proposed that
that person of ordinary skill would have “a bachelor’s degree in computer science, computer
engineering, or the equivalent, and 1-3 years of industry experience, and/or an advanced degree in
computer science or a related field.” (Dkt. No. 61-3 ¶ 12.) Typemock, however, failed to disclose
the level of ordinary skill that it was applying in its Opening Brief. In its opposition brief, for the
first time, it contends that the level of ordinary skill is different—“a bachelor’s degree in computer
science from an accredited academic institution, or the equivalent, and 2-3 years of industry
experience in systems-level programming.” (P. Reply at 6.)

In any event, it is unclear why Typemock argues for a different standard, because Typemock fails
to explain why applying its definition of the person of ordinary skill in the art over Telerik’s would
make any difference in understanding the claim language.


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meaning to a person of ordinary skill in the art, so that the jury can evaluate whether “access

controlling code” is present. Yet, instead of explaining what the “access controlling code” is,

Typemock only points to description showing function in the claim and specification.

               G.      “computational apparatus for at least partially isolating”

       The phrase “at least partially isolating” is made up of two different terms of degree, “at

least” and “partially.” Neither of those terms appear in the specification (outside of the abstract),

and the specification does not explain the scope that the term encompasses.

       Typemock’s argument demonstrates that the “at least partially isolating” cannot be

understood with reasonable certainty by a person of ordinary skill in the art. It argues that a

software component being “fully isolated” is described in the patent as where the mock

framework “decides whether to call the original code or to fake the call.” (P. Reply at 20.) It

then argues that a software component is partially isolated where “the Mock framework may

selectively decide at various times to call the original code or to fake the call.” (Id.) Under

Typemock’s interpretation, the term has no bounds at all.

               H.      “a plurality of software components, at least some of which are coupled in
                       a utilizing-utilized relationship”

       In the context of computer programming, two components being “coupled” refers to the

“manner and degree of interdependence” between the two components. (Br. at 18.) Because

the term “coupled” is not explained in the specification, Telerik offered extrinsic evidence to

show that “coupled” is an indefinite term of degree. Typemock made no effort to rebut that

evidence in its brief. Its only response is the unsupported assertion that “[w]hether two software

components are ‘coupled’ in this manner (as claimed) is a question of yes or no, and not a matter

of degree.” (P. Reply at 17.) Tellingly, that statement is mere lawyer argument, unsupported by

Typemock’s expert.


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       Typemock’s new proposed construction—that the term “coupled” means “connected or

associated” (id.), does not help it here. Case law cannot define a term in the asserted patents,

because any construction here must turn on the facts of this case. But, more importantly, the

cases Typemock cites in support of its proposal refer to physical systems electrically coupled to

one another. (Id. at 17 n.3, citing cases.) In contrast, the claims here recite coupled “software

components.” Typemock offers no explanation as to how one of ordinary skill would understand

the term “coupled” with reference to software.

               I.      “a plurality of software components, at least some of which are coupled in
                       a utilizing-utilized relationship”

       The terms “utilizing,” “utilized,” and “utilizing-utilized” are not terms of art and do not

appear in the specification. Typemock’s only response is that the specification provides

“examples” of software components that are in utilizing-utilized relationships, along with a

blanket cite to two columns in the specification. (Id. at 18.) Yet, Typemock’s expert provides

only one “example.” (Dkt. No. 74-1 at 21.) Typemock’s assertion that examples of products in

a utilizing-utilized relationship exist in the patent, does not explain to a person of ordinary skill

in the art what the claim term means. Indeed, Typemock does not even attempt to provide a

meaning, arguing only that a person of ordinary skill in the art would understand the term to have

its “ordinary meaning.”

               J.      “introducing, prior to execution, code elements for runtime access of
                       application points”

       Typemock now asserts that “application points” means “‘points in the application,’ a

place in its code (or corresponding metadata pointing to a place in the code).” (P. Reply at 18.)

Typemock’s construction does not comport with the language of the claim itself. The claims

recite “introducing, prior to execution, code elements for runtime access of application points

associated with the at least one coupled software component.” In other words, it is the “code

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elements” that provide access to the “application points.” Typemock’s citation to “‘[w]eaved

code’ 308 [which it would assert is a “code element”] being inserted at a specific place” does not

explain what or where an “application point” actually is. (Id. at 19.)

               K.      “an associated behavior inducing message”

       The “associated behavior inducing message” is something that is generated by the

“apparatus for testing” and “induc[es] said apparatus for at least partially isolating.” Those

separate “computational apparatuses” are indefinite. Without sufficiently-bounded scope, it is

hard to know where any “associated behavior inducing message” is coming from, or where it is

“communicated” to. (Id.) Beyond that, Typemock offers no construction for what the claim

term means, merely pointing to discussion in the specification of “Method Expectations.” (Id.)

That discussion describing an embodiment in the specification leaves undefined the term

“associated behavior inducing message.”

               L.      “wherein imposing includes removing or replacing an expected behavior
                       of the at least one coupled software component during runtime”

       In its brief, Typemock contends that “‘expected behavior’ means the behavior expected

from the ‘at least one coupled software component’ from a call to that component that will occur

during a test.” (Id. at 20.) Typemock’s discussion of “Expectation Manger 550” is misplaced, at

least because that module “manage[s] the expectations for the fake code.” (’923 patent at 6:4–5.)

But, the claim language (and Typemock’s understanding of it) shows that the recited “expected

behavior” relates to the “at least one coupled software component,” not “fake code.” That leaves

“expected behavior” without any support in the specification to guide the understanding of a

person of ordinary skill in the art as to the scope of that claim term.




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III.   CONCLUSION

       For the foregoing reasons, Telerik respectfully requests that the Court find the asserted

’923 and ’041 patents invalid because the terms are indefinite.




 Dated: May 30, 2018                          Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

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May 30, 2018.


                                                    /s/ James R. Anderson
                                                    James R. Anderson




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